 Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 1 of 11 PageID 1

                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA


EDWIN J. PRADO GALARZA
Plaintiff

      v.                                          Case No.
EXAMSOFT WORLDWIDE, INC.,
INSURER A
Defendants


                                       COMPLAINT

TO THE HONORABLE COURT:

      COMES NOW, the plaintiff Edwin J. Prado Galarza (hereinafter “Mr. Prado” or

“the plaintiff”), represented by the undersigned counsel and respectfully states, alleges,

and requests as follows:

                              JURISDICTION AND VENUE

   1. The Honorable Court has diversity jurisdiction over this action pursuant to 28

      U.S.C. § 1332(a) as the matter in controversy exceeds the sum or value of

      $75,000, exclusive of interests and costs, and is wholly between citizens of

      different states.

   2. The Honorable Court has personal jurisdiction over the known defendant

      because it is a Delaware corporation authorized to conduct business in the State

      of Florida and has conducted business within the State of Florida.

   3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the events or

      omissions giving rise to the plaintiff’s claims occurred within this judicial district.

                               DEMAND FOR JURY TRIAL

   4. The plaintiff invokes his Seventh Amendment right to a jury trial on all issues

      triable by a jury as the value in controversy exceeds $20. See U.S. Const.

      amend. VII (“In suits at common law, where the value in controversy shall exceed

      twenty dollars, the right of trial by jury shall be preserved.”); see also Fed. R. Civ.

      P. 38.

                                      THE PARTIES

   5. The plaintiff, Edwin J. Prado Galarza, is a resident and citizen of Puerto Rico.

      His postal address is as follows: 403 Calle Del Parque, Suite 8, San Juan, Puerto

      Rico 00912.
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 2 of 11 PageID 2




 6. The defendant, ExamSoft Worldwide, Inc. (hereinafter “ExamSoft”), is a

    corporation existing under the laws of the State of Delaware with its principal

    place of business located at 5001 LBJ Freeway, Suite 700, Dallas, Texas 75244.

 7. ExamSoft regularly conducts business throughout this district, the State of

    Florida, and the United States generally.

 8. The unknown defendant, Insurer A, is an insurance company with the capacity to

    sue and be sued that issued a policy with insurance coverage for ExamSoft and

    whose name and principal place of business is currently unknown to the plaintiff.

      FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

 9. Mr. Prado is a well-known attorney in Puerto Rico and has practiced law for

    twenty-eight (28) years primarily in New York and Puerto Rico, and more recently

    in the State of Florida.   He is the managing partner of Prado, Núñez and

    Associates, C.S.P. and has worked as an Associate Professor at the University

    of Puerto Rico for twenty-eight (28) years. He is currently the President of the

    Puerto Rico Bar Association for the State of Florida. Mr. Prado has represented

    high-profile clients in the entertainment industry and his name and reputation

    have been highlighted by the media and legal peers.

 10. Mr. Prado paid ExamSoft money to download and use their software to take the

    essay portion of the Florida Bar’s admissions test administered in July of 2017 in

    Tampa, Florida.

 11. Mr. Prado completed the essay portion of the examination within the 3-hour time

    frame permitted by the Florida Board of Bar Examiners (hereinafter “FBE”).

 12. On August 11, 2017, Mr. Prado received a letter from the FBE notifying him that

    ExamSoft had notified it that the recorded time on Mr. Prado’s exam platform

    exceeded the time limit by 1 minute and 4 seconds.

 13. The FBE requested an explanation for the alleged transgression and notified Mr.

    Prado that his grades could be impounded pending the result of the investigation

    pursuant to Rule 4-62.1 of the Rules of the Supreme Court Relating to

    Admissions to The Bar.




                                        -2-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 3 of 11 PageID 3




 14. Mr. Prado provided a timely response to the accusation and categorically denied

    the suggestion that he had exceeded the time allotted on the essay portion of the

    examination.

 15. On September 28, 2017, the FBE provided Mr. Prado with a copy of the

    ExamSoft records that were referenced in its August 11, 2017, letter and further

    notified Mr. Prado that the ExamSoft activity log showed that he added 42

    characters on the essay portion of the examination after the time to complete the

    examination had elapsed. The FBE letter further directed Mr. Prado to appear at

    the FBE’s October 2017 hearing.

 16. The allegations raised by the FBE based on the ExamSoft records caused Mr.

    Prado grave consternation despite his categorical denial of any impropriety or

    unethical conduct on his part.

 17. The mere allegation of dishonesty in an examination of this nature entails serious

    predicaments for the applicant that could derail attempts to obtain licenses to

    practice law in Florida and other states and possibly lead to disciplinary action in

    those jurisdictions where the applicant is already licensed.

 18. The essence of the allegations suggested by the ExamSoft activity records was

    that Mr. Prado, who has enjoyed an unblemished legal career for the past 28

    years, cheated on the Florida Bar Examination.

 19. The frivolous allegations leveled against Mr. Prado as a result of the ExamSoft

    records put his professional certifications, professional career, and reputation in

    the legal community and with his clients in jeopardy.

 20. As previously alluded to, Mr. Prado has been an associate professor for the

    University of Puerto Rico for 28 years and will be retiring soon.          Yet, the

    accusation by ExamSoft equates to academic dishonesty that would have

    resulted in his firing.

 21. As a result of the flawed report issued by ExamSoft, Mr. Prado was precluded

    from having access to his examination results and was required to undergo an

    investigation that would focus on the allegation that he cheated on the

    examination by exceeding the applicable time constraints for the essay portion.




                                        -3-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 4 of 11 PageID 4




 22. In mounting his defense against these unfounded allegations, Mr. Prado spent

    more than $25,000 in legal and expert-witness fees, among other expenses, to

    prepare and try his case in front of the Ethics Committee of the Florida Bar.

 23. Mr. Prado retained Eric Chuang, the Managing Director of BDO in charge of

    Cyber Incident Response and a former FBI agent with expertise in Computer

    Forensics (hereinafter “the expert”) who prepared an expert report. Exhibit 1.

 24. In order to prepare the report, the expert examined the laptop computer Mr.

    Prado used for the exam.       See Id. at p. 2.      The laptop computer ran on a

    Windows operating system.

 25. The expert found that the ExamSoft software caused two crashes of one of the

    laptop’s native software programs “that manages multiple Windows processes

    and services including network connections and Windows Time Service. Once

    [said program] crashes, Windows become unstable. That instability can cause

    other components to fail in unpredictable manners.             Once [said program]

    crashes, information from the System time and Clock cannot be relied upon.” Id.

 26. “ExamSoft has a ‘Time Limit’ enforcement function built in, but that function was

    set to be OFF by default /test administrator. That function should be set to ‘ON’

    for timed tests such as Bar Exam. This setting is ONLY configurable by the Test

    Administrator, not by the user.” Id. (emphasis in original).

 27. As it turns out, the computer went into “suspend mode” on two separate

    occasions at the exact same times that the program crashed. Id. at pp. 2-3. The

    ExamSoft software “was the most likely cause as it was active right before the

    . . . crash.” Id.

 28. “Because the Suspend/Sleep function is heavily dependent on the system

    time/clock, the accuracy of the system time/clock is no longer valid as evidenced

    by the random triggering of system Suspend/Sleep.” Id. at p. 3.

 29. “Given what the logs indicate, it is highly probable that the some combination of

    ExamSoft algorithms and/or use of system resources (time API, system interrupt,

    etc.) are flawed or faulty, or misconfigured.” Id.

 30. As it was ExamSoft that created the system instability and caused Mr. Prado’s

    computer to become unstable, it was impossible to guarantee the correct amount



                                         -4-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 5 of 11 PageID 5




    of time spent by Mr. Prado to complete the exam by relying on the software. Id.

    at p. 6.

 31. The expert report attributed the conclusions regarding the alleged time

    transgression to a system suspension that occurred in the ExamSoft system.

 32. There was no other evidence in existence or relied upon by ExamSoft, the FBE,

    or the Ethics Committee of the Florida Bar that would tend to suggest that Mr.

    Prado may have cheated on the exam.

 33. Despite there being thousands of other test takers and dozens of proctors

    present during this examination, there is not a single person who witnessed Mr.

    Prado cheat on the exam.

 34. Moreover, it would be illogical for Mr. Prado to jeopardize his already prominent

    career and reputation over an extra minute on a 2-day exam.

 35. Although Mr. Prado prevailed before the Ethics Committee of the Florida Bar, this

    unfortunate process delayed his admission to the practice of law in the State of

    Florida for more than 9 months, caused him grave emotional distress and

    suffering, required the investment of substantial financial resources, and resulted

    in him missing out on many potentially lucrative opportunities in Florida.

                           FIRST CLAIM FOR RELIEF
                                    Negligence
 36. The allegations in all preceding paragraphs are realleged as if fully incorporated

    herein.

 37. By accepting payment from Mr. Prado, the defendants assumed a duty to deliver

    to the Florida Board of Bar Examiners the answers provided by him during the

    examination and to correctly record the time expended by Mr. Prado in

    completing the essay portion of the examination.

 38. The defendants owed a duty to Mr. Prado to use and exercise reasonable and

    due care in the creation and maintenance of the infrastructure for ExamSoft’s

    software, including the website, servers, and other components necessary to

    obtain the correct time spent by Mr. Prado during the exam. They also had the

    responsibility to examine the results of their activity software to ensure their

    accuracy prior to leveling claims that Mr. Prado had exceeded the allotted time

    for the completion of the essay portion.


                                        -5-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 6 of 11 PageID 6




 39. The defendants breached their duties by failing to adequately design, maintain,

    monitor, update, or improve its system and, as a result, Mr. Prado was falsely

    accused of cheating on the essay portion of the examination by allegedly

    exceeding the time limit for the examination by 1 minute and 4 seconds.

 40. The defendants knew or, with the reasonable exercise of due care, should have

    known of the inherent risks that come with running the ExamSoft software and

    the internal errors that the system could generate, which would undermine the

    accuracy of its results.

 41. The defendants’ carelessness and negligent conduct directly caused Mr. Prado

    to suffer emotional distress and pecuniary harm.

 42. Mr. Prado is entitled to a judgment for compensatory and punitive damages,

    costs, prejudgment interest, and any other relief the court deems equitable and

    just under the circumstances.

 43. Mr. Prado’s damages stem from the payment made to ExamSoft for the use of

    the software, the payment of the expert to investigate the cheating allegations,

    the payment of legal fees related to his defense before the Ethics Committee of

    the Florida Bar, the loss of earnings as a result of the 9-month delay to be

    admitted into the Florida Bar, emotional suffering, and the damages to Mr.

    Prado’s honor and reputation.

                           SECOND CLAIM FOR RELIEF
                                  Product Liability
 44. The allegations in all preceding paragraphs are realleged as if fully incorporated

    herein.

 45. Mr. Prado used ExamSoft’s software in the manner that it was intended to be

    used or in a manner that the defendants could have reasonably expected a

    person to use the product.

 46. The defendants’ software was defectively designed, defectively manufactured, or

    did not contain adequate instructions or warnings to ensure its proper use. The

    defendants failed to create or maintain the proper infrastructure for ExamSoft’s

    software, including the website, servers, and other components necessary to

    obtain the correct time spent by Mr. Prado during the exam.




                                        -6-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 7 of 11 PageID 7




 47. As a direct and proximate result of the defective software and the defendants’

    actions, Mr. Prado experienced emotional distress and pecuniary harm.

 48. Mr. Prado is entitled to a judgment for compensatory and punitive damages,

    costs, prejudgment interest, and any other relief the court deems equitable and

    just under the circumstances.

 49. Mr. Prado’s damages stem from the payment made to ExamSoft for the use of

    the software, the payment of the expert to investigate the cheating allegations,

    the payment of legal fees related to his defense before the Ethics Committee of

    the Florida Bar, the loss of earnings as a result of the 9-month delay to be

    admitted into the Florida Bar, emotional suffering, and the damages to Mr.

    Prado’s honor and reputation.

                             THIRD CLAIM FOR RELIEF
                                  Breach of Contract
 50. The allegations in all preceding paragraphs are realleged as if fully incorporated

    herein.

 51. In order to download and use the defendants’ software, Mr. Prado entered into a

    valid and binding contract whereby he paid the defendants monetary

    consideration and the defendants had a duty to provide a reliable software

    system that would provide reliable time results for the examination.

 52. Mr. Prado fully performed his obligations under the contract by paying the fee

    required by ExamSoft to use its system and software. Additionally, Mr. Prado

    complied with all conditions precedent and followed all ExamSoft’s installation

    and use instructions.

 53. The defendants materially breached this contract by failing to provide a software

    that provided reliable time results for the examination.         Additionally, the

    defendants failed to sufficiently examine the software results to eliminate the

    possibility of error before informing the FBE and Mr. Prado that he had exceeded

    the allotted time for the test.

 54. As a direct and proximate result of the defendants’ bad faith, misconduct, and

    breach of contract, Mr. Prado suffered substantial damages and emotional

    distress.




                                         -7-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 8 of 11 PageID 8




 55. Mr. Prado is entitled to a judgment for compensatory and punitive damages,

    costs, prejudgment interest, attorneys’ fees, and any other relief the court deems

    equitable and just under the circumstances.

 56. Mr. Prado’s damages stem from the payment made to ExamSoft for the use of

    the software, the payment of the expert to investigate the cheating allegations,

    the payment of legal fees related to his defense before the Ethics Committee of

    the Florida Bar, the loss of earnings as a result of the 9-month delay to be

    admitted into the Florida Bar, emotional suffering, and the damages to Mr.

    Prado’s honor and reputation.

                          FOURTH CLAIM FOR RELIEF

                                Unjust Enrichment

 57. The allegations in all preceding paragraphs are realleged as if fully incorporated

    herein.

 58. Mr. Prado affirmatively alleges that the defendants have been unjustly enriched

    by charging and collecting a fee for providing reliable software and support while

    failing to do so.

 59. If the legal claims addressed herein are found to be unavailable, then there is no

    adequate remedy at law.

 60. Mr. Prado conferred a benefit upon the defendants by way of payment for their

    services. The defendants knowingly profited from the sale or licensing of its

    software to Mr. Prado. The defendants received and retained money belonging

    to Mr. Prado because of its unlawful conduct described herein. The defendants

    appreciate or have knowledge of the benefit conferred upon them by Mr. Prado.

 61. Under principles of equity, the defendants should not be permitted to retain

    payment or profit from the unlawful conduct described herein.

 62. Mr. Prado has experienced emotional distress and pecuniary harm as a direct

    result of the defendants’ unlawful conduct.

 63. Mr. Prado is entitled to a judgment for compensatory and punitive damages,

    costs, prejudgment interest, and any other relief the court deems equitable and

    just under the circumstances.




                                        -8-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 9 of 11 PageID 9




 64. Mr. Prado’s damages stem from the payment made to ExamSoft for the use of

    the software, the payment of the expert to investigate the cheating allegations,

    the payment of legal fees related to his defense before the Ethics Committee of

    the Florida Bar, the loss of earnings as a result of the 9-month delay to be

    admitted into the Florida Bar, emotional suffering, and the damages to Mr.

    Prado’s honor and reputation.

                             FIFTH CLAIM FOR RELIEF

                   Florida Deceptive and Unfair Trade Practices Act

 65. The allegations in all preceding paragraphs are realleged as if fully incorporated

    herein.

 66. On its website and in connection with consumers downloading the software,

    ExamSoft falsely advertised its software as reliable and as a trusted platform for

    administering bar examinations.

 67. Mr. Prado’s experience demonstrates that the software is defective and will lead

    to distorted results that indicate that a test taker exceeded their allotted exam

    time. Further, the support, maintenance, and troubleshooting systems in place

    for the software are inadequate as they were unable to realize that the software

    incorrectly interpreted that Mr. Prado exceeded the allotted time on the exam.

 68. The defendants knew, or in the exercise of reasonable diligence, should have

    known, that these statements and actions were deceptive, unconscionable, or

    unfair.

 69. The defendants made these statements for the purpose of selling property and

    intended that boards of bar examiners and test takers alike would rely on these

    representations by using and purchasing their software.

 70. These statements and actions were likely to mislead an objective consumer

    acting reasonably considering the circumstances.

 71. Mr. Prado did in fact rely upon these statements, and such reliance was

    reasonable and justified, given ExamSoft’s self-professed reputation for

    reliability.

 72. As a result of his reliance on the defendants’ misrepresentations, Mr. Prado

    experienced emotional distress and pecuniary harm.



                                         -9-
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 10 of 11 PageID 10




  73. Mr. Prado is entitled to a judgment for compensatory and punitive damages,

     costs, prejudgment interest, attorneys’ fees, and any other relief the court deems

     equitable and just under the circumstances.

  74. Mr. Prado’s damages stem from the payment made to ExamSoft for the use of

     the software, the payment of the expert to investigate the cheating allegations,

     the payment of legal fees related to his defense before the Ethics Committee of

     the Florida Bar, the loss of earnings as a result of the 9-month delay to be

     admitted into the Florida Bar, emotional suffering, and the damages to Mr.

     Prado’s honor and reputation.

                            SIXTH CLAIM FOR RELIEF

                               Misleading Advertising

  75. The allegations in all preceding paragraphs are realleged as if fully incorporated

     herein.

  76. On its website and in connection with consumers downloading the software,

     ExamSoft falsely advertised its software as reliable and as a trusted platform for

     administering bar examinations. These statements and actions were likely to

     mislead an objective consumer acting reasonably considering the circumstances.

  77. Mr. Prado’s experience demonstrates that the software is defective and will lead

     to distorted results that indicate that a test taker exceeded their allotted exam

     time. Further, the support, maintenance, and troubleshooting systems in place

     for the software are inadequate as they were unable to realize that the software

     incorrectly interpreted that Mr. Prado exceeded the allotted time on the exam.

  78. The defendants knew that these statements and actions were false, deceptive,

     unconscionable, or unfair.       The defendants knew that the software had

     imperfections, bugs, or glitches that could interfere with the proper gathering of

     information.

  79. The defendants made these material misrepresentations intentionally for the

     purpose of inducing others to purchase the software and intended that boards of

     bar examiners and test takers alike would rely on these representations by using

     and purchasing their software.




                                        - 10 -
Case 8:20-cv-01894-TPB-AEP Document 1 Filed 07/21/20 Page 11 of 11 PageID 11




   80. Mr. Prado did in fact rely upon these statements, and such reliance was

        reasonable and justified, given ExamSoft’s self-professed reputation for

        reliability.

   81. As a result of his reliance on the defendants’ misrepresentations, Mr. Prado

        experienced emotional distress and pecuniary harm.

   82. Mr. Prado is entitled to a judgment for compensatory and punitive damages,

        costs, prejudgment interest, attorneys’ fees, and any other relief the court deems

        equitable and just under the circumstances.

   83. Mr. Prado’s damages stem from the payment made to ExamSoft for the use of

        the software, the payment of the expert to investigate the cheating allegations,

        the payment of legal fees related to his defense before the Ethics Committee of

        the Florida Bar, the loss of earnings as a result of the 9-month delay to be

        admitted into the Florida Bar, emotional suffering, and the damages to Mr.

        Prado’s honor and reputation.

                                 PRAYER FOR RELIEF

        WHEREFORE, in view of foregoing, the plaintiff respectfully requests and prays

for judgement in his favor against the defendants as follows:

   A. Ordering the defendants to pay compensatory and punitive damages;

   B. Ordering the defendants to pay costs, prejudgment interest, and attorneys’ fees;

        and

   C. Ordering any further relief that the court deems equitable and just under the

        circumstances.

        RESPECTFULLY SUBMITTED in Orlando, Florida, on this 21th day of July,

2020.

                                                      s/ Manuel Franco, Esq.
                                                      Attorney at Law
                                                      513 W. Colonial Dr. Unit 5
                                                      Orlando, FL 32804
                                                      Florida Bar No. 126443
                                                      (407) 420-7926
                                                      (787) 977-1411
                                                      Manuel.Franco.Law@gmail.com




                                           - 11 -
